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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

 ARATEX, LLC,                                    §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §
                                                 §
 JACK IN THE BOX, INC. and JACK IN               §
 THE BOX EASTERN DIVISION LP,                    §         Case No. 5:20-cv-00809-XR
                                                 §
         Defendants, Third-Party Plaintiffs,     §
                                                 §
 v.                                              §
                                                 §
 ANIL S. YADAV, ATOUR EYVAZIAN,                  §
 VANDANA YADAV, SAN-TEX                          §
 RESTAURANTS, INC., and SUNOCO, LLC              §
                                                 §
         Third-Party Defendants.                 §

                            JOINT NOTICE OF PENDING SETTLEMENT
                             AND MOTION TO STAY ALL DEADLINES

TO THE HONORABLE COURT:

        Plaintiff Aratex, LLC (“Aratex”); defendants Jack in the Box, Inc. and Jack in the Box

Eastern Division LP, and intervenor Different Rules, LLC (all, collectively, “JIB”); third-party

defendants Anil S. Yadav, Atour Eyvazian, Vandana Yadav, and San-Tex Restaurants, Inc.

(collectively, “San-Tex”); third-party defendant Sunoco, LLC, as successor in interest to Susser

Petroleum Operating Company, LLC (“Sunoco”); and third-party defendants Four Patriots, LLC,

Shama Mithana, Rahim Kachchhi, and Mohamad Mithana (collectively, “Four Patriots”), pursuant

to the Court’s Amended Scheduling Order [Dkt. 63], respectfully submit this Joint Notice of

Pending Settlement and Motion to Stay All Deadlines and would respectfully show as follows:




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        1.      The Court entered the Amended Scheduling Order in this matter on June 21, 2021.

[Dkt. 63] The Amended Scheduling Order requires notification to the Court if settlement is

reached.

        2.      The parties have reached a settlement in principle in this matter, pending the

agreement to the form of final settlement agreement. Given the number of parties to this dispute,

however, finalizing the settlement agreement may take some time.

        3.      The parties, therefore, request the Court stay all pending deadlines and remove this

matter from its trial docket, pending final settlement between the parties and, after such, formal

dismissal of this lawsuit.

        WHEREFORE, PREMISES CONSIDERED, the Parties respectfully provide this Joint

Notice of Pending Settlement and pray that the Court grant this Joint Motion to Stay All Deadlines

and enter the proposed order submitted herewith, and that the Court grant the Parties any such

further relief to which they may be justly entitled.




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Date:    October 11, 2021             Respectfully submitted,


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 YADAV, AND SAN-TEX                      DEFENDANT SUNOCO, LLC AS
 RESTAURANTS, INC.                       SUCCESSOR IN INTEREST TO SUSSER
                                         PETROLEUM OPERATING COMPANY,
                                         LLC


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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 11, 2021, a true and correct copy of the foregoing Joint
Notice of Pending Settlement and Motion to Stay All Deadlines was electronically filed with the
Clerk of Court using the CM/ECF system, which will send notification of such filing to the
following counsel of record:

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